 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

information associated with Frank Sensabaugh’s Facebook -
user ID “Frank Nitty IT” - ID # 100011275926869”

Case No. 16-M -146 :

 

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
im evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
_] property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 18 U.S.C. 844(i), 18 U.S.C 924(c), and 26 U.S.C. 5861(d), (e) & (f)

The application is based on these facts: See attached affidavit.

[] Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the = sheet.

Ayes ’s signature

Special Agent Andrew Krzeptowski, ATF
Printed Name and Title

 

 

   

Sworn to before me and signed in my presence:

Date: Ok ZO “Lallo

   
     

 

C signature "cna

City and State: Milwaukee, Wisconsin Honorable David E. Jones _U.S. Magistrate Judge
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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Special Agent Andrew Krzeptowski, being first duly sworn, hereby depose and
state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with a certain Facebook user ID that is stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of
an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and
2703(c)(1)(A) to require Facebook to disclose to the government records and other
information in its possession, pertaining to the subscriber or customer associated with
the user ID.

2. I am employed with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and have been so employed since September of 2014. I attended the
Federal Law Enforcement Training Center where I completed both the Criminal
Investigator Training Program and the ATF Special Agent Basic Training program. My
duties as a Special Agent with ATF include investigating alleged violations of the
federal firearms, arson, and explosives laws under the purview of the Gun Control Act
(as amended) under Title 18 of the United States Code. During the course of my career,

I have had in-service trainings regarding the use of social media in relation to criminal

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investigations. Specifically, I have received instruction regarding the use of social
media sites by criminal elements. Additionally, I have conducted previous criminal
investigations in which internet research that I conducted yielded the use of social
media by suspects. Specifically, I know from my training and experience that alleged
suspects of criminal activity, who have accounts on social media websites, will often
communicate their criminal intentions or past activity via “instant message” or “in-box
message” on a given social media website. The “instant message” / “in-box message”
is a private communication from one user to another. Furthermore, I know through
experience that many social media users often use social media websites as their
primary means to communicate with others. Additionally, I know from training and
experience that suspects who use social media websites sometimes post photographs of
themselves possessing incriminating items, such as narcotics and firearms. Also,
suspects in criminal investigations have been known to post statements on social
websites referencing their own criminal activity.

3. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

A. Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that Frank D. Sensabaugh (B/M DOB:

05/10/1981) has in his possession evidence of crimes committed in violations of Title 18

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U.S.C. 844(i) (Arson of Property in Interstate Commerce), 18 U.S.C 924(c) (use of a
Molotov Cocktail to commit a federal arson crime), and 26 U.S.C. 5861(d), (e) & (f),
(possess, transfer or making a firearm not registered in the National Firearms
Registration and Transfer Record). There is also probable cause to search the
information described in Attachment A for evidence of these crimes, as described in
Attachment B.
IDENTIFICATION OF ITEMS TO BE SEARCHED

5. The Facebook pages belonging to “Frank Nitty Il” - ID # 100011275926869,
herein described as a personal website that is accessed with a username and password
specific only to that page and further described in Attachment A. The following two
Facebook Page URLs, Facebook Usernames, and associated Facebook Identifications
Numbers: The applied-for warrant would authorize the search. and recovery of
evidence particularly described in Attachment B.

PROBABLE CAUSE

Case Background

6. On August 13, 2016, at about 8:45pm, several unknown subjects
maliciously set fire to a Milwaukee Police Department (MPD) unmarked squad car
(2005 Chevy Impala black 4 door bearing WI auto plate #740-JYE, VIN
#2G1WF55K059378485) at 3205 North Sherman Blvd. in the city and county of

Milwaukee, WI. This act caused over $10,000 dollars in loss and damage.

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7. On August 13, 2016, at about 9:40pm, several unknown subjects were
involved in property damage, burglary, and malicious use of fire at the BP Gas Station
located at 3114 North Sherman Blvd. in the city and county of Milwaukee, WI. This act
caused over $1,000,000 in damage. At all times material to probable cause, the BP Gas
Station was a commercial business engaged in and affecting interstate commerce.
Through investigation, it was determined that the BP Gas Station fire was intentionally
set and that the arson caused damage to the gas station.

8. On August 14, 2016, at approximately 1:10am several Milwaukee Police
Department (MPD) officers responded to the area of 3500 W. Fond Du Lac in regards to
the aforementioned incidents. A subject who incited violence was identified as Frank D.
Sensabaugh. Police on scene arrested Sensabaugh.

Charles N. Edwards Molotov Cocktail Investigation

9, On August 23, 2016, ATF was contacted regarding suspected Improvised
Incendiary Devices (IID) located within a dumpster at 3284 N. Sherman Blvd.,
Milwaukee. ATF Special Agents traveled to the above location and discovered a brown
cardboard box holding multiple glass bottles containing a liquid with cloth rags
inserted into the openings. The responding agents smelled a strong odor of a petroleum
distillate emanating from the dumpster, which is consistent with the presence of
gasoline. From training and experience, the agents identified these devices as “Molotov
cocktails”. Some of the glass bottles holding the liquid and cloth wicks were labeled as

Mike’s Hard Lemonade, Everfresh Juice, Mystic, and Seagram’s Wine Coolers.

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10. On August 29, 2016, law enforcement conducted a search warrant at the
residence of Van L. Mayes, which was located at 2746A N. 49 Street, Milwaukee. Law
enforcement agents observed a full bottle of a Seagram’s Wine Cooler and one empty
bottle of Everfresh Juice. These bottles were consistent with the types of bottles used in
the construction of the Molotov cocktails recovered by law enforcement on August 23,
2016, from the dumpster located at 3284 N. Sherman Blvd., Milwaukee. During the
search warrant, Mayes told law enforcement agents that he transported two gasoline
cans and Seagram’s Wine Cooler bottles to a man named “Charles” who uses a
wheelchair and resides around Sherman Blvd., Milwaukee. Mayes further stated that he |
left the two cans of gasoline at Charles’ residence.

11. = Affiant verified that Charles N. Edward currently uses a wheelchair and
resides at 3284 N. Sherman Blvd. Apt.#2, Milwaukee.

12. On August 30, 2016, Milwaukee County Judge Timothy Witkowiak signed
a search warrant for Charles N. Edwards’ residence located at 3284 N. Sherman
Boulevard Apartment #2, Milwaukee, to search for evidence of narcotics and guns.

13. During the search of Charles N. Edwards’ residence on August 30, 2016,
law enforcement agents located two empty gas cans inside of a bedroom; a gas can
nozzle within the apartment’s yard; and bottle caps in the yard that were consistent
with the types of bottles used to construct the Molotov cocktails that were recovered on

August 23, 2016.

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14. An inquiry into the National Firearm Registration and Transfer Record
revealed that Charles N. Edwards was not of record.

15. An inquiry into the criminal history of Charles N. Edwards shows in 1998
he was convicted of a felony burglary, and the conviction is unreversed.
BP Gas Station Arson Investigation

20. Information was developed through the course of the investigation that
led to the arrest of a juvenile, A.T. On September 14, 2016, A.T. stated was questioned
by law enforcement agents. A.T. stated that he was at the BP Gas Station, located at 3114
N. Sherman Blvd., Milwaukee, on the evening of August 13, 2016. A.T. explained that
he threw a Molotov cocktail onto a car, which was parked in the BP Gas Station parking
lot. A.T. stated that this action caused the car to start on fire. A.T. described the Molotov
cocktail as a “bottle with fire in them”. AT. further stated that he was given the
Molotov cocktail by another juvenile, R.M. A.T. stated that on August 13, 2016, R.M.
threw a Molotov cocktail into the rear door of the BP Gas Station which ignited the
storage room. A.T. stated that R.M. got several Molotov cocktails from Charles
Edwards, a man who is in a wheelchair A.T. identified Edwards through a phot. A.T.
stated that R.M. told him that Edwards had numerous Molotov cocktails in a bag that
was on his wheelchair. When asked about the identity of the adults, A.T. stated that
amongst others, “Frank Nitty” was on scene with (3) Molotov Cocktails and was
passing them out to kids A.T.’s age, as well as looting the gas station. A.T. positively

identified Frank Nitty, via photo array, as Frank D. Sensabaugh.

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21. An inquiry into the National Firearm Registration and Transfer Record
revealed that Frank D. Sensabaugh was not of record.

22. On August 14, 2016, MPD Police Officer Brian P. Maciejewski received a
phone call from an individual, S.B, who identified himself/herself through name and
date of birth. S.B. informed Officer Maciejewski that he/she is a resident of the city of
Milwaukee and wanted to provide information related to the riots on August 13, 2016.
S.B. informed Officer Maciejewski that he/she believes the individual responsible for
inciting the looting and riots is an individual who goes by Frank Nitty IIT on his
Facebook account. S.B. informed Officer Maciejewski that he/she was not on scene
during the incident but did review Sensabaugh’s Facebook account which had multiple
live streaming videos catching Sensabaugh making threats to police officers which in
turn incited the younger black males to riot and vandalize the city.

23. On August 14, 2016, MPD PO Brian Maciejewski conducted a custodial
interview of Frank D. Sensabaugh. Sensabaugh informed the officer that he has three

Facebook accounts, “Frank Nitty II”, “Frank Nitty” and “Frank Sensabaugh.”

Sensabaugh stated he utilized Facebook from August 13, 2016 through August 14, 2016,

and during this time he “live streamed” on Facebook (posted live videos onto
Facebook) a total of twelve times to his “Frank Nitty II” account. Sensabaugh stated he
observed subjects damage a marked MPD squad car and set an MPD detective’s vehicle

on fire.

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24. Prior to interviewing Sensabaugh, Officer Maciejewski reviewed
Sensabaugh’s “Frank Nitty JI” Facebook account. Officer Maciejewski observed
numerous recordings depicting individuals committing acts of violence and
destruction, to include footage showing the arson of a police vehicle and arson of the BP
Gas Station located at 3114 N. Sherman Blvd. Officer Maciejewski preserved
Sensabaugh’s “Frank Nitty II” Facebook account.

25. On October 11, 2016, ATF Agents reviewed Sensabaugh’s “Frank Nitty II”
Facebook account. On September 13, 2016 at 11:34pm, Sensabaugh streamed, onto his
Facebook account “Frank Nitty II”, a video capturing footage of the aftermath of the
civil unrest and arsons at the 3600 block of Fond Du Lac in Milwaukee. During the
video Sensabaugh is heard speaking about the arsons and rioting. ATF Agents were
not able to view the other eleven videos Sensabaugh posted onto his “Prank Nitty Hl”
account, possibly do to Sensabaugh’s deletion of those videos.

26. Your Affiant reviewed publicly viewable content associated with the
above Facebook account 100011275926869 with listed the User ID as “Frank Nitty IL’.
The affiant is able to identify Sensabaugh through images associated with this account.

27.  Affiant believes additional information relevant to the BP Gas Station
arson and other crimes related to arson and creating Molotov cocktails is housed within
the Facebook account 100011275926869 with listed the User ID as “Frank Nitty II”.
Additional relevant information includes pictures, text, and geographic information

that will assist in identifying the Big Jim’s arson suspects.

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FACEBOOK INFORMATION

28. Facebook owns and operates a free-access social networking website of
the same name that can be accessed at http://www.facebook.com. Facebook allows its
users to establish accounts with Facebook, and users can then use their accounts to
share written news, photographs, videos, and other information with other Facebook
users, and sometimes with the general public.

29. Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
addresses, Facebook passwords, Facebook security questions and answers (for
password retrieval), physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers. Facebook also assigns
a user identification number to each account.

30. Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. Facebook
assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view

information about each other. Each Facebook user’s account includes a list of that

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user’s “Friends” and a “News Feed,” which highlights information about the user’s
“Friends,” such as profile changes, upcoming events, and birthdays.

31. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts.. By
adjusting these privacy settings, a Facebook user can make information available only
to himself or herself, to particular Facebook users, or to anyone with access to the
Internet, including people who are not Facebook users. A Facebook user can also create
“lists” of Facebook friends to facilitate the application of these privacy settings.
Facebook accounts also include other account settings that users can adjust to control,
for example, the types of notifications they receive from Facebook.

32. Facebook users can create profiles that include photographs, lists of
personal interests, and other information. Facebook users can also post “status”
updates about their whereabouts and actions, as well as links to videos, photographs,
articles, and other items available elsewhere on the Internet. Facebook users can also
post information about upcoming “events,” such as social occasions, by listing the
event’s time, location, host, and guest list. In addition, Facebook users can “check in” to
particular locations or add their geographic locations to their Facebook posts, thereby
revealing their geographic locations at particular dates and times. A particular user’s
profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to

anyone who can view the user’s profile.

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33. Facebook allows users to upload photos and videos, which may include
any metadata such as location that the user transmitted when s/he uploaded the photo
or video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a
photo or video. When a user is tagged in a photo or video, he or she receives a
notification of the tag and a link to see the photo or video. For Facebook's purposes, the
photos and videos associated with a user’s account will include all photos and videos
uploaded by that user that have not been deleted, as well as all photos and videos
uploaded by any user that have that user tagged in them.

34. | Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient's
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a
Video Calling feature, and although Facebook does not record the calls themselves, it
does keep records of the date of each call.

35. If a Facebook user does not want to interact with another user on

Facebook, the first user can “block” the second user from seeing his or her account.

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36. Facebook has a “like” feature that allows users to give positive feedback
or connect to particular pages. Facebook users can “like” Facebook posts or updates, as
well as webpages or content on third-party (ie., non-Facebook) websites. Facebook
users can also become “fans” of particular Facebook pages.

37.. Facebook has a search function that enables its users to search Facebook
for keywords, usernames, or pages, among other things.

38. Each Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present.
The activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

39. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

40. The Facebook Gifts feature allows users to send virtual “gifts” to their
friends that appear as icons on the recipient’s profile page. Gifts cost money to
purchase, and a personalized message can be attached to each gift. Facebook users can
also send each other “pokes,” which are free and simply result in a notification to the

recipient that he or she has been “poked” by the sender.

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41. | Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace.

42. In addition to the applications described above, Facebook also provides its:
users with access to thousands of other applications (“apps”) on the Facebook platform.
When a Facebook user accesses or uses one of these applications, an update about that
the user’s access or use of that application may appear on the user’s profile page.

43. Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the
administrator or head of the group, who can invite new members and reject or accept
requests by users to enter. Facebook can identify all users who are currently registered .
to a particular group and can identify the administrator and/or creator of the group. :
Facebook uses the term “Group Contact Info” to describe the contact information for
the group’s creator and/or administrator, as well as a PDF of the current status of the
group profile page.

44. Facebook uses the term “Neoprint” to describe an expanded view of a
given user profile. The “Neoprint” for a given user can include the following
information from the user’s profile: profile contact information; News Feed
information; status updates; links to videos, photographs, articles, and other items;
Notes; Wall postings; friend lists, including the friends’ Facebook user identification

numbers; groups and networks of which the user is a member, including the groups’

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Facebook group identification numbers; future and past event postings; rejected
“Friend” requests; comments; gifts; pokes; tags; and information about the user’s access
and use of Facebook applications.

45. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or
IP address on Facebook, including information about the type of action, the date and
time of the action, and the user ID and IP address associated with the action. For
example, if a user views a Facebook profile, that user’s IP log would reflect the fact that
the user viewed the profile, and would show when and from what IP address the user
did so.

46. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account
number). In some cases, Facebook users may communicate directly with Facebook
about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain
records about such communications, including records of contacts between the user and
the provider’s support services, as well as records of any actions taken by the provider

or user as a result of the communications.

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47, As explained herein, information stored in connection with a Facebook
account may provide crucial evidence of the “who, what, why, when, where, and how”
of the criminal conduct under investigation, thus enabling the United States to establish
and prove each element or alternatively, to exclude the innocent from further suspicion.
In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic
communications, and other data retained by Facebook, can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence. For
example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may
be evidence of who used or controlled the Facebook account at a relevant time. Further,
Facebook account activity can show how and when the account was accessed or used.
For example, as described herein, Facebook logs the Internet Protocol (IP) addresses
from which users access their accounts along with the time and date. By determining
the physical location associated with the logged IP addresses, investigators can
understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation. Additionally, Facebook builds geo-
location into some of its services. Geo-location allows, for example, users to “tag” their

location in posts and Facebook “friends” to locate each other. This geographic and

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timeline information may tend to either inculpate or exculpate the Facebook account
owner. Last, Facebook account activity may provide relevant insight into the Facebook
account owner’s state of mind as it relates to the offense under investigation. For
example, information on the Facebook account may indicate the owner’s motive and
intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

48. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information
concerning subscribers and their use of Facebook, such as account access information,
transaction information, and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

49. I anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(0)(1)(A), by using
the warrant to require Facebook to disclose to the government copies of the records and
other information (including the content of communications) particularly described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B.

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CONCLUSION

50. Based on the forgoing, I request that the Court issue the proposed search
warrant.

51. This Court has jurisdiction to issue the requested warrant because it is “a
court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)(1)(A). Specifically, the Court of the Eastern District of Wisconsin is a
district court of the United States that has jurisdiction over the offense(s) being
investigated, 18 U.S.C. § 2711(3)(A)(i).] Pursuant to 18 U.S.C. § 2703(g), the presence of

a law enforcement officer is not required for the service or execution of this warrant.

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ATTACHMENT A

Property to Be Searched

This warrant applies to information between August 13, 2016 and the present
date associated with Frank Sensabaugh’s Facebook user ID “Frank Nitty Il” - ID #
100011275926869” that is stored at premises owned, maintained, controlled, or operated

by Facebook, a company headquartered in Menlo Park, California.

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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Facebook
To the extent that the information described in Attachment A is within the possession,
custody, or control of Facebook, including any messages, records, files, logs, or
information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A:
a. All contact and personal identifying information, including: full name,
user identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers.
b. All activity logs for the account and all other documents showing the
user’s posts and other Facebook activities;
C. All photos uploaded by that user ID and all photos uploaded by any user
that have that user tagged in them;
d. All profile information; News Feed information; status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings;
friend lists, including the friends’ Facebook user identification numbers;

groups and networks of which the user is a member, including the

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groups’ Facebook group identification numbers; future and past event
postings; rejected “Friend” requests; comments; gifts; pokes; tags; and
information about the user’s access and use of Facebook applications;

All other records of communications and messages made or received by
the user, including all private messages, chat history, video calling history,
and pending “Friend” requests;

All “check ins” and other location information;

All IP logs, including all records of the IP addresses that logged into the
account;

All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user
has “liked”;

All information about the Facebook pages that the account is or was a
“fan” of;

All past and present lists of friends created by the account;

All records of Facebook searches performed by the account;

All information about the user’s access and use of Facebook Marketplace;
The types of service utilized by the user;

The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or

bank account number);

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oO. All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing
which Facebook users have been blocked by the account;

Pp. All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including
contacts with support services and records of actions taken.

II. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 18 U.S.C. 844(i) (arson of property in interstate
~ commerce), 18 U.S.C 924(c) (use of a Molotov Cocktail to commit a federal arson crime),
and 26 U.S.C. 5861(d), (e) & (f), (possess, transfer or making a firearm not registered in
the National Firearms Registration and Transfer Record) since August 12, 2016 for each
user ID identified on Attachment A, information pertaining to the following matters:

(a) The relevant offense conduct, any preparatory steps taken in furtherance
of the scheme, communications between Sensabaugh and others related to
the relevant offense conduct of commercial arson, possessing or making
Molotov cocktails, and possessing Molotov cocktails while committing a
crime of violence.

(b) Evidence indicating how and when the Facebook account was accessed or

used, to determine the chronological and geographic context of account

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access, use, and events relating to the crime under investigation and to the
Facebook account owner;

(c) Evidence indicating the Facebook account owner’s state of mind as it
relates to the crime under investigation;

(d) The identity of the person(s) who created or used the user ID, including
records that help reveal the whereabouts of such person(s).

(e) The identity of the person(s) who communicated with the user ID about
matters relating to relevant offense conduct of commercial arson,
possessing or making Molotov cocktails, and possessing Molotov cocktails
while committing a crime of violence, including records that help reveal

their whereabouts.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

L , attest, under penalties of perjury under
the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the
information contained in this declaration is true and correct. [am employed by
Facebook, and my official title is . Lama custodian of
records for Facebook. I state that each of the records attached hereto is the original
record or a true duplicate of the original record in the custody of Facebook, and that I
am the custodian of the attached records consisting of
(pages/CDs/kilobytes). I further state that:
a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person with
knowledge of those matters;
b. such records were kept in the ordinary course of a regularly conducted business
activity of Facebook; and
c. such records were made by Facebook as a regular practice.

I further state that this certification is intended to satisfy Rule 902(11) of the

Federal Rules of Evidence.

 

 

Date Signature

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